            Case 1:21-cr-00063-APM Document 20 Filed 10/20/21 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                           :
 UNITED STATES OF AMERICA                  :       Case No: 1:21-cr-00063 (APM)
                                           :
                                           :
                                           :       18 U.S.C. § 1001(a)(2)
                                           :
         v.                                :
                                           :
 MAXIMO RAMON MARTE,                       :
                                           :
         Defendant.                        :
                                           :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Maximo Ramon Marte, with the concurrence of his attorney, agree and stipulate to the below

factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the

parties stipulate that the United States could prove the below facts beyond a reasonable doubt:

       1.       At all times relevant to this Statement of Offense, the defendant was a United

States citizen employed by the United States Department of State (“DOS”), working as an

Information Programs Officer and performing work in the area of information management. The

defendant had served in the United States military and began working for the DOS in around

2001. The defendant was assigned to work at U.S. diplomatic facilities in various locations

throughout the world, including Nigeria (from around 2010 through 2015) and Benin (from

around 2015 through 2019). The defendant was responsible for performing and supervising the




                                                  1
            Case 1:21-cr-00063-APM Document 20 Filed 10/20/21 Page 2 of 7




performance of system administration on both classified and unclassified network systems for

DOS.

       2.       The defendant was granted a Top Secret security clearance in connection with his

work for DOS, and he had access to classified and unclassified government information on an

ongoing basis. Classified information is material deemed sensitive by the U.S. government and

for which access to is restricted by law and regulation; the unauthorized disclosure of classified

information could endanger the national security of the United States. Federal government

employees with access to Top Secret government information, including the defendant, are

required by federal regulations to undergo national security reinvestigations every five years.

The national security reinvestigation is part of the U.S. government’s continuous evaluation of a

person’s suitability for a national security position that involves access to classified information.

To make this determination, U.S. government investigators rely on, among other things, the SF-

86 Questionnaire for National Security Positions and background investigation interviews with

the applicant. The national security reinvestigation is a matter within the jurisdiction of the

Executive Branch of the U.S. Government.

       3.       The defendant electronically submitted an SF-86 background investigation form

on or around April 5, 2018, as part of his reinvestigation for a national security position. The

instructions on the form state that knowingly falsifying or concealing a material fact could result

in criminal prosecution. The defendant certified on the SF-86 that the information provided was

true, correct, and complete to the best of his knowledge.

       4.       On the SF-86 form, the defendant denied having “ever had any foreign financial

interests (such as stocks, property, investments, bank accounts, ownership of corporate entities,

corporate interests, or exchange traded funds” in which he had “direct control or direct



                                             Page 2 of 7
            Case 1:21-cr-00063-APM Document 20 Filed 10/20/21 Page 3 of 7




ownership,” with the exception of one piece of foreign real estate owned by his spouse. The

defendant also denied having been involved in any foreign business activities within the past

seven years, including through ownership, co-ownership, work as a business consultant, or

providing financial support.

       5.       On May 23, 2018, the defendant participated in a background investigation

interview with an agent of the U.S. Government as part of the national security reinvestigation.

The interview occurred via video-conference, with the defendant located in Benin and the

investigator located in Europe. At the outset of the interview, the defendant was informed that

federal law makes it a crime to knowingly falsify or conceal material facts. The defendant

denied having any financial interests in a foreign country – or financial interests in any foreign-

owned or foreign-operated business – that could make him vulnerable to foreign influence.

       6.       On September 27, 2019, the defendant participated in another background

investigation interview with an agent of the U.S. Government as part of the national security

reinvestigation. This interview occurred in Washington, D.C. The defendant was again

informed that it was a federal crime to falsify or conceal material information. The defendant

denied having had any close and continuing contacts with a foreign national with whom he has

common business interests. The defendant also denied having ever had any foreign financial

interests in which he had direct control or ownership (including stocks, properties, investments,

bank accounts, ownership of corporate entities or interests), other than the piece of foreign real

estate owned by his spouse as previously disclosed. The defendant also denied having provided

any advice or support in the previous seven years to any individual with a foreign business or to

any other foreign organization. Finally, the defendant denied having been involved in any

business ventures with foreign nationals over the previous seven years, with the exception of one



                                             Page 3 of 7
            Case 1:21-cr-00063-APM Document 20 Filed 10/20/21 Page 4 of 7




incident where, the defendant explained, he was defrauded out of some money in Nigeria that he

had invested in an effort to help a friend.

       7.       Information that the defendant provided in his background reinvestigation,

including in the September 27, 2019, interview, was inaccurate.

       8.       The defendant failed to disclose that he served as the Director and Chief

Executive Officer of a Nigerian business organization starting in 2013 (when the defendant was

assigned to work in Nigeria by DOS) at the latest, and continuing through at least 2018. The

defendant operated this foreign business organization with a Nigerian national who was a

locally-employed staff member at a U.S. diplomatic facility in Nigeria. The Nigerian business

organization was intended to help facilitate the sale of petroleum from Nigeria to other foreign

countries including Benin and Canada, and the defendant personally signed various sale

proposals in 2013 and 2014 (while he was stationed at the DOS diplomatic facility in Nigeria).

The defendant also opened a Nigerian bank account on behalf of the Nigerian business

organization, and in 2015 the defendant transferred money from his personal checking account in

the United States to the Nigerian bank account.

       9.       The defendant also failed to disclose efforts in the spring and summer of 2018 to

facilitate the sale of petroleum to Syria, during a time period when Executive Order prohibited

U.S. citizens from supplying services to Syria due to its ongoing civil war. The defendant

communicated in these efforts with a foreign national whom the defendant had been informed

worked for a foreign-located oil company. The foreign national sent an e-mail message to the

defendant on May 20, 2018 (three days before the first background investigation interview),

seeking light crude oil to be destined to Syria. The defendant replied to the e-mail message the

next day. The defendant emphasized to the foreign national that “in light of the U.S. and



                                              Page 4 of 7
         Case 1:21-cr-00063-APM Document 20 Filed 10/20/21 Page 5 of 7




European commercial sanctions in place against Syria, the logistics on both sides must be 110%

perfect.” The defendant stated that he and a partner “will ensure the transaction is structured

correctly. Including putting in place the necessary safety mechanism for all involved.” The

defendant went on to advise that the vessel transporting the oil must be looked at “very carefully

to ensure the nominated vessel flag isn’t part of the U.S. or E.U.” In the following days, the

foreign national sent contract documents to the defendant, listing the buyer of the petroleum as a

Syrian business organization, and an Iranian bank providing a financial guarantee. The

defendant’s communications with the foreign national about the planned business venture

continued into mid-summer 2018 but did not ultimately lead to an agreement in that instance to

facilitate the shipment of petroleum to Syria.

       10.     The defendant’s false statements to a government agency on September 27, 2019,

were material and had a natural tendency to influence the agency’s decision on whether to

maintain the defendant’s access to classified information in a national security position of

employment. The false statements included that the defendant had never had direct control over

any undisclosed foreign financial interests, and that the defendant had not provided advice and

support to any individual with a foreign business within the last seven years. The defendant

made the false statements willfully, and with knowledge that he was making materially false

statements to a government agency.




                                                     Respectfully submitted,


                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793



                                            Page 5 of 7
Case 1:21-cr-00063-APM Document 20 Filed 10/20/21 Page 6 of 7




                           By:     /s/ Michael J. Friedman
                                   Michael J. Friedman
                                   Assistant United States Attorney




                          Page 6 of 7
Case 1:21-cr-00063-APM Document 20 Filed 10/20/21 Page 7 of 7
